                     UNITED STATES DISTRICT COURT

                  WESTERN DISTRICT OF NORTH CAROLINA

PETER J. JARVINEN and
COSTANCE L. JARVINEN,

     Plaintiffs,

v
                                                  1:18-cv-00014
GOSHEN TIMBER FRAMES, INC.,
BONNIE PICKARTZ, and DAVID
PICKARTZ,

     Defendants.


        PLAINTIFFS’ AMENDED REQUEST FOR ENTRY OF DEFAULT

     Plaintiffs    Peter   J.   Jarvinen    and   Constance   L.   Jarvinen

request that the Clerk enter default against Defendants Goshen

Timber Frames, Inc., Bonnie Pickartz, and David Pickartz pursuant

to Fed. R. Civ. P. 55(a).

     Defendants were each served with the Summons, Complaint, and

Electronic Case Opening Notice (with attachments) on January 29,

2018 (Dkt.3).     Defendants’ answer or responsive pleading was due

21 days later on February 19, 2018.        See Fed. R. Civ. P. 12(a)(1).

To date, no Defendant has filed an answer or responsive pleading

or requested an extension of time to do so.        (Declaration of Allan

R. Tarleton ¶ 6.)      Accordingly, the Clerk should enter default

against Defendant.



February 21, 2018

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                         THE VAN WINKLE LAW FIRM

                         By:   /s/ Allan R. Tarleton
                         Allan R. Tarleton, State Bar No. 9490
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                         Asheville, NC 28802
                         (828) 258-2991
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                         Attorney for Plaintiffs




                     CERTIFICATE OF SERVICE

     I hereby certify that on February 21, 2018, I electronically
filed the foregoing with the Clerk of the Court and mailed the
foregoing document by first-class mail to the following non-CM/ECF
participants:

                         Bonnie Pickartz
                      Goshen Timber Frames
                       37 Phillips Street
                       Franklin, NC 28734

                         David Pickartz
                      Goshen Timber Frames
                       37 Phillips Street
                       Franklin, NC 28734

                    Goshen Timber Frames, Inc.
                Susan Broadhead, Registered Agent
                        37 Phillips Street
                        Franklin, NC 28734




                         /s/ Allan R. Tarleton




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